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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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DAMARIS SHAFFER          *                         No. 17-1491V
MILTENBERGER,            *                         Special Master Christian J. Moran
                         *
             Petitioner, *                         Filed: August 6, 2019
                         *
v.                       *                         Stipulation; influenza (“flu”) vaccine;
                         *                         Tetanus-diphtheria-acellular pertussis
SECRETARY OF HEALTH      *                         (“Tdap”) vaccine; Guillain-Barré
AND HUMAN SERVICES,      *                         syndrome (“GBS”); chronic
                         *                         inflammatory demyelinating
             Respondent. *                         polyneuropathy (“CIDP”)
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John Leonard Shipley, Davis, CA, for Petitioner;
Lisa Ann Watts, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On July 29, 2019, the parties filed a joint stipulation concerning the petition
for compensation filed by Damaris Shaffer Miltenberger (“Petitioner”) on October
10, 2017. Petitioner alleged that the influenza (“flu”) and Tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccines she received on November 7, 2014, which are
contained in the Vaccine Injury Table, 42 C.F.R. §100.3(a), caused her to suffer
Guillain-Barré syndrome (“GBS”) and chronic inflammatory demyelinating
polyneuropathy (“CIDP”). Petitioner further alleges that she suffered the residual
effects of these injuries for more than six months. Petitioner represents that there
has been no prior award or settlement of a civil action for damages on her behalf as
a result of her condition.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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       Respondent denies that the flu and Tdap vaccines caused petitioner to suffer
GBS, CIDP, or any other injury or that petitioner’s current disabilities are sequelae
of a vaccine-related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum of $300,276.69, which amount represents compensation for
       all damages that would be available under 42 U.S.C. § 300aa-15(a), in
       the form of a check payable to petitioner.

      In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the Clerk of Court is directed to enter judgment in case 17-1491V according to this
decision and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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